Case 2:23-md-03080-BRM-RLS   Document 610   Filed 06/13/25   Page 1 of 23 PageID:
                                  18432



                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY

                                        Case 2:23-md-03080
 IN RE: INSULIN PRICING                 MDL No. 3080
 LITIGATION
                                        JUDGE BRIAN R. MARTINOTTI
                                        JUDGE RUKHSANAH L. SINGH


 THIS DOCUMENT RELATES TO: ALL ACTIONS

          REPLY MEMORANDUM OF LAW IN SUPPORT OF
                MOTION TO COMPEL RESPONSES
    TO COMPASS LEXECON SUBPOENA TO PRODUCE DOCUMENTS
Case 2:23-md-03080-BRM-RLS                    Document 610             Filed 06/13/25           Page 2 of 23 PageID:
                                                   18433



                                         TABLE OF CONTENTS

 TABLE OF AUTHORITIES ................................................................................. ii

 INTRODUCTION................................................................................................... 1

 ARGUMENT ........................................................................................................... 6

          A.       PBMs’ Contention that Plaintiffs are Improperly Seeking Clone
                   Discovery from a Third Party is Both Inaccurate and
                   Misleading. ........................................................................................... 6

                   1.       Third parties are not immune from discovery. .......................... 6

                   2.       Plaintiffs are not seeking “clone discovery.” ............................ 8

          B.       The Carlton Report is Relevant Even Though it Includes
                   Medications Other than Diabetes Drugs in its Analysis. ................... 10

          C.       The PBMs Have Failed to Meet Their Heavy Burden of
                   Showing that Any Privilege or Protection Applies. ........................... 11

          D.       The Motion Does Not Seek Overly Broad or Unduly
                   Burdensome Discovery. ..................................................................... 13

 CONCLUSION...................................................................................................... 15




                                                             i
Case 2:23-md-03080-BRM-RLS                Document 610          Filed 06/13/25       Page 3 of 23 PageID:
                                               18434



                                   TABLE OF AUTHORITIES

 Cases

 Allegheny Cnty. Employees’ Ret. Sys. v. Energy Transfer LP,
   2022 WL 17339035, (E.D. Pa. Nov. 30, 2022) ..................................................... 9

 Ceuric v. Tier One, LLC,
  325 F.R.D. 558 (W.D. Pa. 2018) ................................................................. 6, 7, 15

 DIRECTV, Inc. v. Richards,
  2005 WL 1514187 (D.N.J. June 27, 2005) .......................................................... 15

 Gould v. O’Neal,
  2019 WL 4686991 (D.N.J. Sept. 26, 2019) ......................................................... 10

 Gruss v. Zwirn,
  2013 WL 3481350 (S.D.N.Y. July 10, 2013) ...................................................... 13

 In re B & C Seafood LLC,
   431 F. Supp. 3d 533 (D.N.J. 2019) ...................................................................... 12

 In re Intel Corp. Microprocessor Antitrust Litig.,
   2008 WL 11231447 (D. Del. Mar. 20, 2008). ....................................................... 2

 In re Intel Corp. Microprocessor Antitrust Litig.,
   2008 WL 11233766 (D. Del. Mar. 6, 2008) .......................................................... 2

 In re Novo Nordisk Sec. Litig.,
   530 F. Supp. 3d 495 (D.N.J. 2021) ...................................................................... 11

 Khartchenko v. Am. Oncologic Hosp., Inc.,
  2024 WL 4345277 (D.N.J. Sept. 30, 2024) ..................................................... 1, 11

 Legends Mgmt. Co., LLC v. Affiliated Ins. Co.,
  2017 WL 4227930 (D.N.J. Sept. 22, 2017) ......................................................... 12

 New Park Entm’t L.L.C. v. Elec. Factory Concerts, Inc.,
  2000 WL 623155 (E.D. Pa. Jan. 13, 2000) ............................................................ 7

 NXIVM Corp. v. O’Hara,
  241 F.R.D. 109 (N.D.N.Y. 2007) ........................................................................ 13


                                                      ii
Case 2:23-md-03080-BRM-RLS                     Document 610            Filed 06/13/25           Page 4 of 23 PageID:
                                                    18435



 Nye v. Ingersoll Rand Co.,
  2011 WL 253957 (D.N.J. Jan. 25, 2011) ............................................................. 15

 Osagei v. Borough of State College,
  586 F. Supp. 3d 314 (M.D. Pa. 2022) ............................................................ 10, 11

 Peterson v. Wright Med. Tech., Inc.,
  2013 WL 655527 (C.D. Ill. Feb. 21, 2013) ........................................................... 9

 Republic of Philippines v. Westinghouse Elec. Corp.,
  132 F.R.D. 384 (D.N.J. 1990).............................................................................. 13

 United Food & Com. Workers Union v. Super Fresh Food Markets, Inc.,
  2006 WL 8457243 (D.N.J. Nov. 28, 2006) ........................................................... 6

 Whitman v. State Farm Life Ins. Co.,
  2020 WL 5526684 (W.D. Wash. Sept. 15, 2020).................................................. 9

 Wyeth v. Abbott Lab’ys,
  2011 WL 2429318, (D.N.J. June 13, 2011) ......................................................... 15

 Other Authorities

 Dennis W. Carlton,
  The FTC Staff's Interim PBM Reports Are Based on a Small, Non-
  Representative Sample of Drugs and Reach Conclusions that Do Not Hold
  When Analyzing All Drugs,
  https://compass-lexecon.files.svdcdn.com/production/files/documents/
  Carlton-PBM-Report-Section-VII-2025.04.22.pdf (Apr. 2025). .......................... 2

 PBMs and Prescription Drug Distribution: An Economic Consideration of
  Criticisms Levied Against Pharmacy Benefit Managers,
  https://carltonreport.org (last visted June 10, 2025). ....................................... 3, 10

 Rules

 FED. R. CIV. P. 26 .................................................................................................... 13

 FED. R. CIV. P. 45 .................................................................................................... 11




                                                            iii
Case 2:23-md-03080-BRM-RLS        Document 610       Filed 06/13/25    Page 5 of 23 PageID:
                                       18436



                                   INTRODUCTION

       Compass Lexecon indisputably broadcast the Carlton Report—which by its

 own description was allegedly created to “shed[] light on the true role PBMs play

 in prescription drug pricing”—to the entire world via its own website and a separate

 site singularly dedicated to the report. OptumRx followed suit, publishing articles

 on its LinkedIn page about the Carlton Report and claiming it refutes “common

 critiques” that PBMs “contribute to high drug prices[.]”. The Pharmaceutical Care

 Management Association (“PCMA”), the PBM trade group dominated by the big

 three PBMs, similarly issued a press release touting Professor Dennis Carlton’s

 credentials and Carlton’s purported conclusion that “[c]laims that PBMs are

 harming plan sponsors and beneficiaries of drug benefit plans . . . are not supported

 by the data.” The PCMA then deployed the Carlton Report in its lobbying efforts,

 citing it to state legislators as part of its efforts to defeat PBM regulation.

       These key facts undermine any claim that the report and the underlying

 materials used to prepare it are privileged or the work product of a consulting expert.

 They defeat any contention that the “primary purpose of [each] communication was

 to aid in the provision of legal advice” rather than to bolster PBMs in the public.

 Khartchenko v. Am. Oncologic Hosp., Inc., 2024 WL 4345277, at *10 (D.N.J. Sept.

 30, 2024). And they show that the PBM Defendants have waived any protection by

 “voluntarily disclos[ing] the existence of the report, the name of the



                                             1
Case 2:23-md-03080-BRM-RLS         Document 610       Filed 06/13/25      Page 6 of 23 PageID:
                                        18437



 expert/consultant who prepared it, the report’s key findings and its methodology to

 the world.” See In re Intel Corp. Microprocessor Antitrust Litig., 2008 WL

 11233766, at *10 (D. Del. Mar. 6, 2008), R&R adopted, 2008 WL 11231447 (D.

 Del. Mar. 20, 2008). In fact, shortly after filing their Motion, Plaintiffs learned that

 Compass recently updated the report yet again, releasing a new “Supplemental

 Report” to the public in April 2025,1 further cementing Plaintiffs’ position.

        Nonetheless, the PBMs’ Opposition for the most part sidesteps these core

 realities, placing as an afterthought the purported privilege concerns that the PBMs

 put at the forefront throughout the parties’ negotiations and the key relevance of the

 materials underlying the Carlton Report to this case. Instead, they focus on what the

 PBMs claim is improper clone discovery and an alleged attempt by Plaintiffs to dig

 into the written communications between their counsel and Compass. PBM Opp. at

 2, 11. The PBMs also contend that Plaintiffs should seek PBM data from the PBMs

 themselves, rather than Compass, id. at 7–10, and that the Subpoena seeks, in

 material part, material not relevant to this litigation, id. at 9 n.7.

        These arguments should be rejected. First, they are a transparent effort to

 distract this Court from the basic premise that a party may not trumpet the alleged

 findings and methodology of an alleged expert report to the world and then claim



 1
  See https://compass-lexecon.files.svdcdn.com/production/files/documents/Carlton
 -PBM-Report-Section-VII-2025.04.22.pdf (Apr. 2025).


                                              2
Case 2:23-md-03080-BRM-RLS        Document 610      Filed 06/13/25   Page 7 of 23 PageID:
                                       18438



 protection over the materials used by said expert in reaching those findings and

 crafting that methodology.

         Second, the PBMs’ Opposition effectively ignores the multiple detailed

 communications exchanged in the meet and confer process that homed in on the key

 materials Plaintiffs seek, as well as the public statements of Compass itself. For

 example:

     1. When Plaintiffs asked the PBMs in a meet and confer to confirm that the data
        PBMs produce in this litigation will, at a minimum, include the data provided
        to Compass, the PBMs declined to do so, see Cicala Decl., Exs. 6–7. This fact
        undermines the PBMs’ argument that any data requests should be directed to
        them.

     2. During the parties’ final meet and confer, Plaintiffs expressly asked Compass
        and the PBMs to consider producing the following three categories of material
        that Compass itself said it used in preparing the Carlton Report: (i) PBM data;
        (ii) material produced by PBMs to the FTC; and (iii) publicly available
        documents culled by Compass. The Plaintiffs’ requests did not include any
        internal communications between PBM counsel and Compass. See Cicala
        Decl., Ex. 6.2 This undercuts the PBMs’ arguments that granting the Motion
        would expose all of PBM counsel’s communications to disclosure.

     3. The PBMs’ claim that the Subpoena seeks documents and data not relevant to
        this litigation is contradicted by Compass’s own statements describing the
        report it prepared: “Through the examination of approximately 20 billion 30-
        day equivalent prescriptions representing more than a trillion dollars in drug
        expenditures, this study sheds light on the true role PBMs play in prescription
        drug pricing, challenging many of the criticisms leveled against them.” 3
 2
    Plaintiffs do not intend to suggest that there is no argument that those
 communications are not protected or, alternatively, that any protections have been
 waived. Rather, the point is that focusing on these materials, which Plaintiffs did not
 press for during the parties’ meet and confers, is a red herring that distracts from the
 actual materials Plaintiffs have pushed for Compass Lexecon to produce.
 3
   See Carlton Report, https://carltonreport.org (emphasis added).


                                            3
Case 2:23-md-03080-BRM-RLS       Document 610     Filed 06/13/25   Page 8 of 23 PageID:
                                      18439




       The PBMs also attempt to shift the focus to the FTC’s investigation, and what

 PBMs claim was a wide-ranging investigation by the FTC into their practices that

 allegedly reaches well beyond Plaintiffs’ claims here. But this, again, ignores the

 point of the Compass Subpoena and this Motion.

       Plaintiffs are not seeking the materials the PBMs produced to the FTC; rather,

 Plaintiffs are seeking the materials that Compass used to craft a public report that

 by their own description claims to provide the “truth” about PBMs’ role in drug

 pricing. The fact that certain of those materials are, by Compass’ own description,

 also materials the PBMs produced to the FTC is purely coincidental.

       The PBMs also spend pages of their Opposition focusing on the hiring of Dr.

 Carlton (and Compass) and the FTC dispute role for which he was allegedly retained

 (information they did not share prior to the filing of the Motion). Again, these facts

 do not bear on the key issue before the Court—whatever the original purpose of Dr.

 Carlton’s hiring may have been, the Subpoena focuses on the publicly-disseminated

 Carlton Report, and the materials that were used by Compass to draft the Report

 (and its subsequent versions and supplements).

       To the extent PBMs contend that the details of Dr. Carlton’s hiring suggest

 that the Carlton Report was not a document crafted principally for public

 consumption, there is nothing in the materials PBMs filed to support such a

 contention. The undisputed facts (laid out in Plaintiffs’ opening brief and supporting


                                           4
Case 2:23-md-03080-BRM-RLS        Document 610       Filed 06/13/25    Page 9 of 23 PageID:
                                       18440



 exhibits) are that the Carlton Report was publicly released shortly after the FTC

 issued its first report in July 2024. It was lauded in OptumRx’s LinkedIn article. The

 Report has its own website. These facts speak for themselves.

       PBMs also claim they have not referenced the Carlton Report in this

 litigation. But that fact, again, is beside the point. Parties are never limited solely to

 discovery of items the other side specifically mentions or references. And the

 Federal Rules’ definition of “relevance” contains no such limitations.

       Finally, as for the threat of disclosure of privileged documents, Plaintiffs

 made clear in the meet and confer process that they were principally seeking the

 materials used to prepare the Carlton Report—rather than the allegedly extensive

 attorney communications and other materials PBMs repeatedly reference in their

 Opposition—and yet Compass and the PBMs have to date refused to produce even

 a single responsive document. See Cicala Decl., Exs. 4, 6. This Motion is not a battle

 for disclosure of counsel emails, but rather an effort to compel the production of

 supporting data and materials that are routinely disclosed in analogous

 circumstances.

       In sum, the essential undisputed facts remain unchallenged by the Opposition:

 the PBMs have deployed the Carlton Report to shape public debate, to support their

 positions in litigation, and to urge legislators to reject legislation regulating PBMs.

 These materials are directly relevant to Plaintiffs’ claims that the PBMs are



                                             5
Case 2:23-md-03080-BRM-RLS       Document 610       Filed 06/13/25   Page 10 of 23 PageID:
                                       18441



  responsible for the soaring cost of insulin. The PBMs cannot now reverse course

  and resist disclosure of the documents and data used by Compass to prepare that

  Report. The Court should grant the Motion.

                                    ARGUMENT
  A.    PBMs’ Contention that Plaintiffs are Improperly Seeking Clone
        Discovery from a Third Party is Both Inaccurate and Misleading.

        The recurring theme of the PBMs’ Opposition is that Plaintiffs are improperly

  seeking third-party, “clone” discovery from Compass instead of seeking relevant

  materials from the PBMs directly. But this theme is neither an accurate reflection of

  the law nor an accurate framing of the dispute.

        1.     Third parties are not immune from discovery.
        To start, the federal rules “do[] not require a party to demonstrate that

  information cannot be obtained from another party before subpoenaing it from a

  third party.” Ceuric v. Tier One, LLC, 325 F.R.D. 558, 561 (W.D. Pa. 2018); see

  also, United Food & Com. Workers Union v. Super Fresh Food Markets, Inc., 2006

  WL 8457243, at *4 (D.N.J. Nov. 28, 2006) (“[T]he Court first rejects [p]laintiffs’

  assertion that the subpoenas should be quashed because [d]efendants allegedly can

  obtain the documents from the [one of the plaintiffs] rather than third parties.”).

  They only require that the documents subpoenaed be “within the control of the

  nonparty witness.” Ceuric, 325 F.R.D. at 561 (quotation omitted).

        This principle directly contradicts the PBMs’ contention that Plaintiffs should



                                           6
Case 2:23-md-03080-BRM-RLS        Document 610      Filed 06/13/25   Page 11 of 23 PageID:
                                        18442



  proceed by seeking the underlying data from the PBMs in this litigation, and not

  Compass. In fact, Ceuric is on all fours with this case. The subpoenaed party in that

  case claimed all the information sought in a third-party subpoena could be obtained

  from the Defendant—just as the PBMs argue here. But the Ceuric court rejected that

  argument because, while there may be some duplication, “there is no way for the

  plaintiff to frame its request to eliminate the possibility of duplication and at the

  same time ensure that it receives all of the documents it seeks from third parties.”

  Id. at 561–62 (quoting New Park Entm’t L.L.C. v. Elec. Factory Concerts, Inc., 2000

  WL 62315, at *5 (E.D. Pa. Jan. 13, 2000)).

        Indeed, Plaintiffs are entitled to test the comprehensiveness and veracity of

  what the PBMs produce, just as the courts in Ceuric and New Park recognized. This

  is particularly important here as the PBMs generally contend all their data is

  confidential, proprietary, and not subject to disclosure. The PBMs have also offered

  limited custodians and claimed that the “PBMs’ outside counsel consulted with

  [Carlton] regularly.” PBM Opp. at 4. It’s thus far from clear that Plaintiffs can obtain

  relevant documents from the PBMs themselves. And if the PBMs have nothing to

  hide and Plaintiffs’ pricing claims are as unfounded as the PBMs contend they are,

  why are they so protective of this information and why have they intervened in this

  dispute with Compass to prevent its disclosure?

        In any event, the PBMs conveniently ignore that they cannot even identify



                                             7
Case 2:23-md-03080-BRM-RLS        Document 610      Filed 06/13/25    Page 12 of 23 PageID:
                                        18443



  what data they intend to produce in this litigation, and how it is duplicative of the

  data Plaintiffs seek in the subpoena. See Ex. 7 at 3 (“The PBMs are unable to provide

  a response at this time to [the] question” of what aspect of the data “is duplicative.”).

  Thus, there is no merit to the PBMs’ claim that Plaintiffs must seek this data from

  the PBMs directly, as neither the Plaintiffs nor the Court can even confirm that

  Plaintiffs would be able to obtain this data. Indeed, this is precisely why Plaintiffs

  seek to compel production of these materials—not as a fishing expedition aimed at

  sidestepping party discovery—but to seek fundamentally relevant data from a report

  claiming that the PBMs are not responsible for price increases.

        2.     Plaintiffs are not seeking “clone discovery.”

        Rather than address the Carlton Report and the documents used to prepare it,

  the PBMs improperly focus on the “expansive, industry wide scope of the [FTC]

  6(b) order,” which they then claim supports their claim that “the Subpoena is

  overbroad and seeks the production of a significant amount of information outside

  the scope of discovery in this matter.” PBM Opp. at 13.

        But Plaintiffs seek the documents used to prepare the Carlton Report, not the

  documents used to litigate against the FTC. While, apparently, there is some overlap

  between those two categories, restricting the focus to the documents used for the

  Carlton Report by definition restricts the Plaintiffs’ request to documents that are

  relevant to this litigation—since the Carlton Report, by its own description, seeks



                                             8
Case 2:23-md-03080-BRM-RLS        Document 610     Filed 06/13/25    Page 13 of 23 PageID:
                                        18444



  the “truth” about PBMs’ role in drug pricing. In short, cloned discovery requests are

  requests for “all discovery produced in prior litigation or investigations.” Allegheny

  Cnty. Employees’ Ret. Sys. v. Energy Transfer LP, 2022 WL 17339035, at *3 (E.D.

  Pa. Nov. 30, 2022). Plaintiffs made no such request here.

        Even if clone discovery rules applied, courts allow discovery related to other

  litigation where there is “significant factual and legal overlap” with a prior case and

  the request is not overbroad. See Whitman v. State Farm Life Ins. Co., 2020 WL

  5526684, at *3 (W.D. Wash. Sept. 15, 2020). In fact, where so-called “cloned”

  discovery “seeks information that is relevant to plaintiff’s claims and defendants’

  defenses and that . . . is reasonably calculated to lead to the discovery of admissible

  evidence,” that information must be produced. Peterson v. Wright Med. Tech., Inc.,

  2013 WL 655527, at *6 (C.D. Ill. Feb. 21, 2013).

        The Carlton Report purports to review “systematic evidence” and “data

  provided by the PBMs” in concluding that the critiques against PBMs for their role

  in increasing drug prices are unfounded. This is of course a central issue in this

  litigation. Plaintiffs are entitled to the information underlying this bold

  proclamation, because “the very purpose of discovery is to give the parties the

  opportunity to learn what their opponents know about the issues in the case.”

  Peterson, 2013 WL 655527, at *5.




                                            9
Case 2:23-md-03080-BRM-RLS          Document 610     Filed 06/13/25   Page 14 of 23 PageID:
                                          18445



  B.       The Carlton Report is Relevant Even Though it Includes Medications
           Other than Diabetes Drugs in its Analysis.
           The Carlton Report includes drugs besides diabetes drugs in its study and

  discussion. But that fact does not alter the analysis because the Report is nonetheless

  relevant to the Plaintiffs’ claims. For example, the Plaintiffs contend that the PBMs’

  rebate agreements with diabetes drug manufacturers contribute to higher diabetes

  drug prices—by contrast, Compass, on the opening page of the website dedicated to

  the Carlton Report, says that a “key finding” of the Report is that manufacturer

  rebates allegedly “are not associated with higher growth in list or net prices relative

  to non-rebated drugs.” (emphasis added).4 This fundamental overlap between the

  Plaintiffs’ claims and the Carlton Reports’ claimed findings demonstrates the

  relevance of the requests. See generally Mot. at 7–9.

           Given this demonstration of relevance, “the burden . . . shifts to the opposing

  party, who must demonstrate in specific terms why a discovery request does not fall

  within the broad scope of discovery or is otherwise privileged or improper.” Osagei

  v. Borough of State College, 586 F. Supp. 3d 314, 321 (M.D. Pa. 2022); see also

  Gould v. O’Neal, 2019 WL 4686991, at *4 (D.N.J. Sept. 26, 2019) (applying the

  same test in the context of Rule 45). And “[g]enerally, courts afford considerable

  latitude in discovery in order to ensure that litigation proceeds with the fullest



  4
      Carlton Report, https://carltonreport.org


                                             10
Case 2:23-md-03080-BRM-RLS        Document 610      Filed 06/13/25    Page 15 of 23 PageID:
                                        18446



  possible knowledge of issues and facts before trial.” Osagei, 586 F. Supp. 3d at 314.

        The PBM’s Opposition falls well short of demonstrating—even in non-

  specific terms—why the Subpoena does not fall within the broad scope of discovery.

  And, as courts recognize, Plaintiffs here should be afforded “considerable latitude”

  and given access with “the fullest possible knowledge of issues and facts.”

        Against this, the PBMs contend that “nonparty discovery require[s] a stronger

  showing of relevance.” See PBM Opp. at 8 (quotation omitted). But Rule 45

  provides the standards applicable to this dispute. And “[t]he scope of discovery

  pursuant to Rule 45 is the same as Rule 26(b).” In re Novo Nordisk Sec. Litig., 530

  F. Supp. 3d 495, 501 (D.N.J. 2021); see also FED. R. CIV. P. 45 advisory committee

  notes (“The non-party witness is subject to the same scope of discovery under this

  rule as that person would be as a party[.]”). In any event, the requests here far surpass

  the PBMs’ preferred relevance standard. As set out in the Motion, the Carlton Report

  and the data underlying it lie at the core of this case. See Mot. at 7–9.

  C.    The PBMs Have Failed to Meet Their Heavy Burden of Showing that
        Any Privilege or Protection Applies.

        The PBMs contend that every single document underlying the Carlton Report

  is privileged. PBM Opp. at 17–22. They are wrong. First, both attorney-client

  privilege and work-product protection hinge on whether “the primary purpose of the

  communication was to aid in the provision of legal advice.” Khartchenko, 2024 WL

  4345277, at *10 (quotation omitted) (emphasis added); In re B & C Seafood LLC,


                                             11
Case 2:23-md-03080-BRM-RLS       Document 610     Filed 06/13/25   Page 16 of 23 PageID:
                                       18447



  431 F. Supp. 3d 533, 537 (D.N.J. 2019) (“[T]o qualify as work-product the

  ‘dominant purpose’ in preparing the document must be the concern about potential

  litigation….” (citations omitted; emphasis added)).

        Here, the PBMs, Compass, and the Carlton Report explained that the purpose

  of the report was to “inform the extensive debate that has formed around [PBMs],”

  not to inform litigation. See Summary of Report at 2. Looking to escape this

  admission, the PBMs point to Carlton’s engagement letter and argue that Carlton

  “was retained in anticipation of litigation.” PBM Opp. at 4, 9. But the question is

  the primary purpose of the document, not the retention. In any event, the engagement

  letter is much broader than litigation. The PBMs also contend that their attorneys

  often communicated with Compass. But privilege “does not apply just because a

  statement was made by or to an attorney.” Legends Mgmt. Co., LLC v. Affiliated Ins.

  Co., 2017 WL 4227930, at *5 (D.N.J. Sept. 22, 2017).

        Second, the PBMs cannot avoid the reality that they have waived any

  protection that may ever have applied to the Carlton Report. While they rely on a

  declaration from counsel who retained Compass to purportedly shed light on the

  original purpose of the Report and why Compass was retained, Plaintiffs are seeking

  the documents and data used to prepare the Carlton Report. The PBMs and Compass

  cannot dispute that the Report is a widely broadcast report that is directly relevant




                                           12
Case 2:23-md-03080-BRM-RLS         Document 610      Filed 06/13/25    Page 17 of 23 PageID:
                                         18448



  to this case and is indisputably public.5

        “[W]hen a party discloses its work product in the course of any adversarial

  proceeding, . . . the party waives its right to assert that privilege against any other

  party.” Republic of Philippines v. Westinghouse Elec. Corp., 132 F.R.D. 384, 390

  (D.N.J. 1990). The same is true when a party makes material “fodder for grander

  public discourse,” NXIVM Corp. v. O’Hara, 241 F.R.D. 109, 142 (N.D.N.Y. 2007),

  or discloses the material to an “adverse government entity,” Gruss v. Zwirn, 2013

  WL 3481350, at *12 (S.D.N.Y. July 10, 2013). The PBMs did all of those things

  here, and nothing in the PBMs’ Opposition contradicts this fundamental fact. 6

  D.    The Motion Does Not Seek Overly Broad or Unduly Burdensome
        Discovery.
        Compass filed its own Opposition, which largely contends that the

  Subpoena’s requests are overly broad and unduly burdensome, and also argues that



  5
    Rule 26(b)(4)(D) is inapplicable for similar reasons, as discussed in the Motion. In
  their response, the PBMs fail to show a dominant purpose of litigation, fail to rebut
  their waiver, and fail to address the plain text of the Rule demonstrating that the
  Rule does not apply to document requests (along with case law affirming as much).
  6
    While not critical to the key issues, footnote 14 of the PBMs’ Opposition, which
  in turn takes issue with footnote 10 of Plaintiffs’ opening brief, is inaccurate. In their
  opening brief, the Plaintiffs pointed out in footnote 10 that the PBMs had expressly
  stated that Compass had not been hired for litigation against the FTC where the
  Carlton Report was cited, meaning the federal court lawsuit filed by Express Scripts
  in September 2024. This is, indeed, what the PBMs literally wrote in footnote 3 of
  their February 21, 2025 letter to Plaintiffs. See Cicala Decl., Ex. 7 (“Compass was
  not retained in anticipation of the lawsuits filed [against the FTC] by Express Scripts
  in September 2024 or by the PBMs in November 2024.”).


                                              13
Case 2:23-md-03080-BRM-RLS      Document 610     Filed 06/13/25   Page 18 of 23 PageID:
                                      18449



  the materials should be sought from the PBMs rather than Compass.7 Compass

  arguments fail.

        First, as noted above, Compass itself identified the three categories of

  information that it used to prepare the Carlton Report. The Plaintiffs specifically

  requested that these categories of information be produced, both verbally and in

  writing, prior to filing this Motion. Both the PBMs and Compass declined to produce

  even a single document. There is no undue burden on Compass to simply produce

  these documents, which per its own statements are what it relied on to draft the

  Carlton Report. That production requires no searching nor weeding out, contrary to

  Compass’ representations in its Opposition.

        Second, both Compass and the PBMs contend that Plaintiffs should seek the

  Carlton Report materials from the PBMs. But they both ignore that Plaintiffs

  specifically asked the PBMs whether their data production in this litigation would

  include, at least, the data the PBMs provided to Compass. The PBMs not only

  declined to confirm, they essentially said they had no idea whether it would.

  Compass and the PBMs cannot avoid production of relevant materials by sending



  7
    Compass also argues that it cannot waive any privileges held by the PBMs. But the
  Plaintiffs do not contend that Compass acting alone has waived any protections that
  might otherwise have applied—instead, Plaintiffs contend that the PBMs
  themselves have widely publicized the Carlton Report directly and via Compass,
  and it is the PBMs’ actions that have resulted in the waiver of any protection that
  might have applied.


                                          14
Case 2:23-md-03080-BRM-RLS       Document 610      Filed 06/13/25   Page 19 of 23 PageID:
                                       18450



  Plaintiffs down dead end paths.

        Third, “[t]he party moving to quash a subpoena carries the heavy burden of

  proving that the subpoena is unreasonable or oppressive.” DIRECTV, Inc. v.

  Richards, 2005 WL 1514187, at *2 (D.N.J. June 27, 2005). Where requests are

  “relevant” and “appropriately limited,” “[b]are allegations of burden will not

  suffice.” Nye v. Ingersoll Rand Co., 2011 WL 253957, at *6 (D.N.J. Jan. 25, 2011).

  Simply objecting to requests as overly broad, burdensome, oppressive and

  irrelevant, without showing specifically how such requests are burdensome is

  inadequate to “voice a successful objection.” See Ceuric, 325 F.R.D. at 561.

        Compass raised the issue of burden during the meet and confer process but

  failed to recite with any specificity the nature of the burden. Its Opposition suffers

  from the same defect. Instead of specifics, the Opposition relies on facial

  interpretations of the Subpoena requests that ignore both the history of the parties’

  meet and confers and the fundamental requests outlined in the Motion—namely, the

  documents relied upon for the Carlton Report. Compass’ “bare claims of undue

  burden are simply insufficient.” Wyeth v. Abbott Lab’ys, 2011 WL 2429318, at *8

  (D.N.J. June 13, 2011).

                                    CONCLUSION
        For these reasons, the Court should grant the Motion to Compel.




                                           15
Case 2:23-md-03080-BRM-RLS      Document 610     Filed 06/13/25   Page 20 of 23 PageID:
                                      18451



  Respectfully submitted, this the 13th day of June, 2025.

                                  By:   /s/ Joanne Cicala
                                        Joanne Cicala
                                        The Cicala Law Firm PLLC
                                        101 College Street
                                        Dripping Springs, Texas 78620
                                        Tel: (512) 275-6550
                                        Fax: (512) 858-1801
                                        joanne@cicalapllc.com

                                        Walter G. Watkins, III
                                        Forman Watkins & Krutz LLP
                                        210 E. Capitol Street, Suite 2200
                                        Jackson, MS 39201-2375
                                        Tel: (601) 960-8600
                                        Fax: (601) 960-8613
                                        trey.watkins@formanwatkins.com
                                        W. Lawrence Deas
                                        Liston & Deas, PLLC
                                        605 Crescent Blvd., Suite 200
                                        Ridgeland, MS 39157
                                        Tel: (601) 981-1636
                                        Fax: (601) 982-0371
                                        lawrence@listondeas.com

                                        Troy A. Rafferty
                                        Levin Papantonio Thomas Mitchell
                                        Rafferty and Proctor, P.A.
                                        316 S. Baylen Street
                                        Suite 600
                                        Pensacola, FL 32502
                                        Tel: (850) 435-7043
                                        Fax: (850) 436-6102
                                        trafferty@levinlaw.com




                                          16
Case 2:23-md-03080-BRM-RLS   Document 610   Filed 06/13/25   Page 21 of 23 PageID:
                                   18452



                                   Russell W. Budd
                                   Baron & Budd PC
                                   3102 Oak Lawn Ave., Ste. 1100
                                   Dallas, TX 75219-4281
                                   Tel: (214) 521-3605
                                   rbudd@baronbudd.com

                                   Counsel for the State Attorney General
                                   Track

                                   Melissa Yeates
                                   Kessler Topaz
                                   Meltzer & Check, LLP
                                   280 King of Prussia Road
                                   Radnor, PA 19087
                                   Telephone: (610) 667-7706
                                   Facsimile: (610) 667-7056
                                   myeates@ktmc.com

                                   Michael L. Roberts
                                   Roberts Law Firm, P.A.
                                   20 Rahling Circle
                                   Little Rock, Arkansas 72223
                                   (501) 821-5575
                                   mikeroberts@robertslawfirm.us

                                   Donald A. Ecklund
                                   Carella, Byrne, Cecchi,
                                   Brody & Agnello, P.C.
                                   5 Becker Farm Road
                                   Roseland, New Jersey 07068
                                   Telephone: (973) 994-1700
                                   decklund@carellabyrne.com

                                   Counsel for the Class Track




                                     17
Case 2:23-md-03080-BRM-RLS   Document 610   Filed 06/13/25   Page 22 of 23 PageID:
                                   18453



                                   David R. Buchanan
                                   dbuchanan@seegerweiss.com
                                   Seeger Weiss, LLP
                                   55 Challenger Road
                                   Ridgefield Park, New Jersey 07660
                                   Telephone: (973) 639-9100

                                   Mark P. Pifko
                                   mpifko@baronbudd.com
                                   Baron & Budd, P.C.
                                   15910 Ventura Blvd #1600
                                   Los Angeles, CA 91436
                                   Telephone: (818) 839-2333

                                   Benjamin J. Widlanski
                                   bwidlanski@kttlaw.com
                                   Kozyak Tropin & Throckmorton LLP
                                   2525 Ponce de Leon Blvd., 9th Floor
                                   Coral Gables, Florida 33134
                                   Telephone: (305) 372-1800

                                   Brandon L. Bogle
                                   bbogle@levinlaw.com
                                   Levin, Papantonio, Rafferty,
                                   Proctor, Buchanan, O’Brien, Barr &
                                   Mougey, P.A.
                                   316 S. Baylen St., Suite 600
                                   Pensacola, Florida 32502
                                   Telephone: (850) 435-7140

                                   Counsel for the Self-Funded Payor Track




                                     18
Case 2:23-md-03080-BRM-RLS     Document 610     Filed 06/13/25   Page 23 of 23 PageID:
                                     18454



                         CERTIFICATE OF SERVICE

       I hereby certify that on June 13, 2025, the above was served on all counsel of

  record via the Court’s CM/ECF system and a copy was served on counsel for

  Compass Lexecon LLC via email.



                                          /s/ Joanne Cicala
                                          Joanne Cicala




                                         19
